Case: 2:11-cv-01016-EAS-MRM Doc #: 1466 Filed: 04/10/18 Page: 1 of 3 PAGEID #: 56049




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                         EASTERN DIVISION AT COLUMBUS

  In re: OHIO EXECUTION
   PROTOCOL LITIGATION,

                                                                :        Case No. 2:11-cv-1016

                                                                         Chief Judge Edmund A. Sargus, Jr.
                                                                         Magistrate Judge Michael R. Merz

  This Order relates to All Plaintiffs




      DECISION AND ORDER GRANTING MOTION OF VON CLARK
                     DAVIS TO INTERVENE


           This capital § 1983 case is before the Court on Motion of Von Clark Davis to Intervene as

  a Plaintiff-Intervenor (ECF No. 1465). Counsel for Davis represents that counsel for Defendants

  do not oppose the Motion. Id. at PageID 55555 1.

          The Motion is made pursuant to Fed. R. Civ. P. 24(a)(2) and the decision in Jansen v.

  Cincinnati, 904 F.2d 336, 340 (6th Cir. 1990). Applying that authority, the Magistrate Judge finds

  the Motion is timely because Davis does not presently have an execution date set, and his federal

  habeas corpus proceedings just passed the pleading stage in December 2017. Case No. 2:16-cv-

  495-SJD-MRM (S.D. Ohio). Importantly, he has agreed to “sign on” to the Fourth Amended

  Omnibus Complaint (ECF No. 1252), to be subject to the pending Report and Recommendations



  1
   While perhaps it was not necessary to give this citation, it would have been a shame to pass by without mentioning
  so euphonious a PageID number.


                                                           1
Case: 2:11-cv-01016-EAS-MRM Doc #: 1466 Filed: 04/10/18 Page: 2 of 3 PAGEID #: 56050



  regarding that pleading (ECF No. 1429), and to join in the pending Plaintiffs’ Objections to that

  Report (ECF No. 1459). Therefore, the Magistrate Judge agrees with Davis that “the proposed

  intervention will not impair the progress of the proceedings or [adversely] affect the interests of

  the original parties.” (Motion, ECF No. 1465, PageID 55558).

         Davis clearly has an interest sufficient to support intervention in that he alleges, pursuant

  to his adoption of the Fourth Amended Omnibus Complaint, that his execution pursuant to the

  extant Ohio Lethal Injection Protocol will deprive him of his constitutional rights.

         It is not completely clear that his interests will be impaired if he is not permitted to

  intervene, because he is represented by attorneys from the Capital Habeas Unit of the Federal

  Public Defender’s Office for this District, an office which has zealously represented other death

  row inmates in this litigation since 2004. He is correct, however, in asserting that the stare decisis

  effects of adverse rulings with respect to the claims of other death row inmates would apply to him

  and thus support intervention under this prong of the Jansen test (Motion, ECF No. 1465, Page ID

  55560). While other Plaintiffs may provide adequate representation, it may also be that Davis’s

  as yet unpleaded individual characteristics will be sufficiently different from other Plaintiffs to

  require separate presentation. Whether or not the pattern will continue, it has been the pattern in

  this case to litigate preliminary injunction issues separately as to Plaintiffs whose executions are

  imminent.

         Finally, as Davis points out, the Court has recently granted motions to intervene on behalf

  of three similarly situated death row inmates (Motion, ECF No. 1465, Page ID 55559 (citing ECF

  No. 1428)). Law of the case considerations support treating Davis’ Motion in the same manner.




                                                    2
Case: 2:11-cv-01016-EAS-MRM Doc #: 1466 Filed: 04/10/18 Page: 3 of 3 PAGEID #: 56051



         Accordingly, Davis’s Motion to Intervene as of right is GRANTED.



  April 10, 2018.

                                                            s/ Michael R. Merz
                                                           United States Magistrate Judge




                                               3
